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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  BEAUFORT DIVISION



 United States of America, et al., ex rel. Scarlett      Civil Action No.: 9:14-cv-3699-RMG
 Lutz and Kayla Webster,

                      Plaintiffs/Relators,
                                                              ORDER OF DISMISSAL
            v.

 Laboratory Corporation of America Holdings,


                      Defendant.



           The Court having been advised by counsel for the parties that the above action has been

settled,

           IT IS ORDERED that this action is hereby dismissed without costs and without prejudice.

If settlement is not consummated within sixty (60) days, either party may petition the Court to

reopen this action and restore it to the calendar. FED. R. CIV. P. 60(b). In the alternative, to the

extent permitted by law, either party may within sixty (60) days petition the Court to enforce the

settlement, and the Court specifically retains jurisdiction to enforce the settlement. See Fairfax

Countywide Citizens Ass’n v. Fairfax Cnty., Va., 571 F.2d 1299 (4th Cir. 1978). The dismissal

here under shall be with prejudice if no action is taken within sixty (60) days from the filing date

of this order.

           IT IS FURTHER ORDERED that the Court will retain jurisdiction over all final

settlement agreements.

           AND IT IS SO ORDERED.




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                                               s/ Richard M. Gergel
                                               Richard M. Gergel
                                               United States District Judge


November 22, 2022
Charleston, South Carolina




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